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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


INRE:                                                                  CASE NO.: 17-15307-BKC-AJC
                                                                    PROCEEDING UNDERCHAPTER 13
ROBERTO DEL TORO



  - - - - - - - - - - -I
DEBTOR
-

                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on 'l /1 B / t 01 8




                                                              Amy Carrington, Esq.
                                                              FLORIDA BAR NO: 101877
                                                          \:ia,Jose Ignacio Miceli, Esq.
                                                          r    FLORIDA BAR NO: 0077539
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                                        NOTICE OF HEARJNG AND TRUSTEE'S MOTION TO DISMISS
                                                                CASE NO.: 17-15307-BKC-AJC

                            CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTOR
ROBERTO DEL TORO
9036 NW 119 TERRACE
HIALEAH GARDENS, FL 33018

Via Electronic Service:
ATTORNEY FOR DEBTOR
RICARDO R. CORONA, ESQ.
3899 NW 7 STREET
# 202-B
MIAMI, FL 33126
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06/08/2018 FRI 15:52             FAX 9544434452                                 CH13MIAMI FAX

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                                                    ***    FAX TX REPORT ***
                                                    *********************

                                                          TRANSMISSION OK

                                      JOB NO.                            0363
                                      DESTINATION ADDRESS                18885545607
                                      SUBADDRESS
                                      DESTINATION ID                     CORONA, RI CARDO
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                                      RESULT                             OK
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       OFFICE OF THE CBA?TER 13 STANDING TRUSTEE
       Southem District of Florida


                                                                                     NANCY K. NETDICH, TRUSTEE
                                                                                                  P.O. Box 279806
                                                                                            Miramar, Florida 33027
                                                                                                    (954) 443-4402
                                                                                         Facsimile: (954) 443-4452
       06/08/2018


       To: RICARDO CORONA ESQ


        Re: ROBERTO DEL TORO                          Case: 17-15307 AJC


       Dear RICARDO CORONA ESQ


      The Trustee has recommended confirmation of a Plan in the above-referenced case based upon your assurance
      that the creditor had agreed to the Debtor's treatment of Its collateral.

      Creditor:

      Plan falls to provide for 100% of allowed unsecured claims


      The Debtor is directed to either file n Motion to Modify the Confirmed Plan to include the amount listed in the
      Proof of Claim 1 or an Objection to the Proof of Claim within twenty (20) days of this letter or the Trnatee may
      file a Motion to Dismiss this case with prejudice fo1· six (6) months.


      Very truly yours,


      Claims Administrator
